               Case 2:21-cr-00001-WFN              ECF No. 3        filed 01/05/21     PageID.7 Page 1 of 1


                                               CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   Peter James Yeager                        2:21-CR-1-WFN-1
                                                   CASE NO. ______________________
                                                                                                              FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT OF WASHINGTON
                                                    ✔
                                    1
                TOTAL # OF COUNTS: _______      _________FELONY     _________MISDEMEANOR    _________PETTY OFFENSE

                                                                                                     Jan 05, 2021
                                                                                                         SEAN F. MCAVOY, CLERK



Count            Statute                   Description of Offense                                    Penalty

                                                                           CAG not less than 5 years nor more than 20 years;
                                  Damage by Fire to a Building Used in
  1     18 U.S.C. § 844(i)                                                 $250,000; 3 years of supervised release; and $100 special
                                  Interstate and Foreign Commerce
                                                                           penalty assessment


        18 U.S.C. § 982, 18
        U.S.C. § 844, 28 U.S.C. § Forfeiture Allegations
        2461
